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                           UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA




         UNITED STATES OF AMERICA

                          v.                                           MOTION HEARING

           DANIEL EVERETTE HALE                                         Case No. 1:19CR59


HONORABLE LIAM O’GRADY, presiding                                                Time Called: 2:11 p.m.
Proceeding Held: November 15, 2019                                            Time Concluded: 3:47 p.m.
Deputy Clerk: Amanda                                                           Court Reporter: N. Linnell

Appearances:

UNITED STATES OF AMERICA by:                           Gordon Kromberg, Alex Berrang, Heather Schmidt
DANIEL HALE in person and by:                          Todd Richman, Cadence Mertz, Ruth Vinson
INTERPRETER: None                                      ☐ Interpreter Sworn


   -   Court withholds hearing arguments on certain motions that are premature at this time since discovery is
       not complete.
   -   Court informs counsel which motions will not be heard today.

[50] Defendant’s Motion for Bill of Particulars
       - Counsel present arguments.
       - Motion denied without prejudice and may be renewed when discovery is complete.

[49] Government’s Motion to Take Judicial Notice
       - Motion is unopposed.

[57] Government’s Motion in Limine Concerning Challenges to Official Classification Determination
       - Counsel present arguments.
       - Court takes matter under advisement.

[86] Defendant’s Motion to Compel Production of Documents and Information
       - Counsel present arguments.
       - Court takes matter under advisement.

[55] Defendant’s Motion to Dismiss for Selective and Vindictive Prosecution
       - Counsel present arguments.
       - Court denies motion.

[84] Defendant’s Motion to Compel Production of Grand Jury Materials
       - Counsel present arguments.
       - Court takes matter under advisement while awaiting submission by Government.
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-   Additional motions will be heard at the already scheduled motion hearing date of January 10, 2020 @
    2:00 p.m.
